   
  

IN THE UNITED STATES DISTRICT COUR$H§_
FOR THE WESTERN DISTRICT OF TENNESSE§
EASTERN DIVISION AT JACKSON " '

JOHNNY MARVIN HENNING,
Petitioner,
V.

No. 05-102/,2"§T/An

TONY PARKER, WARDEN

Respondent.

MOTION FOR EXT§NSIONyG§ TIME

     
     
  
     
     
 
 
  

Now comes the pro §§ petit' ner, Johnny Marvin Henning and

respectfully request an exte ion of time of thirty (30) days in

which to file a brief a pleading in the above styled case that

will be acceptable to this Honorable Court in addressing all

pertinent matte as to why the petitioner should be allowed to go

forward wit respect to this case.

Whe efore, petitioner prays this Honorable Court will grant

this tion allowing petitioner thirty (30) days in which to file

a more in depth brief and/or pleading.

espectfully submitted, .
MOT\ON RANHE/ § mM

_ nny in Henning, #11949
DATE’ CBCX Annex - Unit 22-48
7466 Centennial Blvd. Ext.
Nashville, TN 37209~1010

 
 
    
 

James D. Todd
U.S. District Judge

This document entered on the docket s{»; In compliance
with nme ss and:or_?s (a) FncP on l \ §§

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CERTIFICATE OF SERVICE

I hereby certify that a true and. exact copy' of the
foregoing has been forward via 15t class U.S. Mail, postage prepaid
to John H. Bledsoe, Assistant Attorney General, P.O. Box 20207,

Nashville, TN 37202 on this the day of , 2005.

Johnny Marvin Henning
Pro se petitioner *

r`)'sA'ETs DISTRICT oURT - WEST RN D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy cf the document docketed as number 18 in
case 1:05-CV-01022 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

John H. Bledsoe

OFFICE OF THE ATTORNEY GENERAL
P.O. ch 20207

Nashville, TN 37202

Johnny Marvin Henning
1 1 949 1

960 State Rcute 212
Tiptcnville7 TN 38079

Honcrable J ames Tcdd
US DISTRICT COURT

